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UNITED STATES DISTRICT COURT
WESTERN DlSTRlCT OF NEW YORK

 

WlLLlAl\/l HOWELL,
ORDER
Plaintiff,
lo-CV-6l l7CJS
v.
l\/IONROE COUNTY, et al.,
Defendants.

 

Plaintif`f` William Howell (“Hovvell”) having filed a motion f`or sanctions (Docket
## 46, 63), defendants (eXcept for Shahid Ali, N.P., against Whom Hovvell did not seek relief`)
(collectively, “Defendants”) having opposed the motion (Docket ## 49, 64), this Court having
reviewed the parties’ submissions, and oral argument having been conducted on August 2l,
2018, it is hereby

ORDERED that, for the reasons stated more fully on the record on August 21 ,
2018, plaintiff` s motion for sanctions (Docket ## 46, 63) is GRANTED in PART and
DENIED in PART. lt is further

ORDERED that, on or before September 4, 2018, in accordance With the
Court’S guidance during the proceedings, Defendants are directed to produce any additional
documents Within their possession, custody and/or control responsive to Requests Nos. 1, 2, 3,
16, 17, 26, 40, 42 and 44 during the period specified in each request1 Defendants are also ,
directed to provide an affirmation on or before September 4, 2018, from the person or persons

With personal knowledge, sworn to under penalty of perjury, attesting that a diligent search for

 

1 This Would include any documents Within the possession, custody and/or control of any of the
Defendants, including Monroe County, Patrick O’Flynn, Ron Harling, Correctional l\/ledical Care, lnc., Emre Umar,
Mario Carpio, Christine Ross, Anselrno Deasis, M.D., or Betsy Teller, P.A.

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documents responsive to Requests Nos. 1, 2, 3, 16, 17 , 26, 40, 42 and 44, has been conducted,
identifying the steps taken to conduct the search, and indicating whether further responsive
documents were located. The affirmation shall also state whether responsive documents existed
at the time the document requests were propounded but have since been destroyed lt is further

ORDERED that in accordance with the Court’s guidance during the proceedings,
Defendants are directed to make available for deposition, to be conducted at Defendants’
expense, on a date mutually convenient to the parties, the appropriate records custodian(s) or
CMC or County official(s) who participated in and/or supervised the search for documents
responsive to Requests Nos. 28 and 36. lt is further

ORDERED that Defendants2 are directed to reimburse Howell’s attorneys’ fees
and costs incurred in connection with his motion for sanctions (Docket ## 46, 63). The parties
are directed to promptly meet and confer regarding the amount of attorneys’ fees and costs to be
reimbursed; in the event that no agreement is reached by September 4, 2018, plaintiff shall file a
sworn affidavit by that date attesting to the amount of attorneys’ fees and costs incurred in
connection with the motion. To the extent Defendants contest these amounts, they must file an
affidavit in opposition by no later than September 18, 2018. lt is further

ORDERED, that, for the reasons stated on the record, Defendants are sanctioned
in the amount of $3,000.00, which they shall pay to the Clerk of the Court by no later than
September 4, 2018.
IT IS SO ORDERED.
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MARlAN W. PAYSON
United States Magistrate Judge

Dated: Rochester, New York
August 2,2~ , 2018

 

2 During the proceedings in open Court, the Court inadvertently referred to “defendants’ counsel” rather
than defendants

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